               IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE:


 ROCCO BEARD                                     Chapter:         13
                   Debtor(s)                     Case Number:     5:15-bk-04113-JJT




                            ORDER DISMISSING CASE

         It appearing the above-named debtor(s) has/have failed to file the documents
listed below, required pursuant to 11 U.S.C. §521 and Bankruptcy Rule 1007:
         Schedules A - F
         Schedules I - J
         Statement of Financial Affairs
         Means Test B22C
         Employee Income Records or Certificate of No Payment Advices


         IT IS HEREBY, ORDERED that the case of the above-named debtor(s) be and
is hereby dismissed. The trustee hereby is discharged from further responsibility in this
case, and it is further


         ORDERED that all pending actions in this case are hereby dismissed.


                    Dated: November 13, 2015




                                                                       MDPA-Dismiss Case.WPT - REV 04/15


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